                                                             Case: 08-15027             Doc: 505          Filed: 04/30/14             Page: 1 of 16
                                                                                               FORM 1
                                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                   Page:        1
                                                                                            ASSET CASES
Case No:            08-15027        WV     Judge: T.M. WEAVER                                                                        Trustee Name:                     DOUGLAS N. GOULD
Case Name:          HAROLDS STORES, INC.                                                                                            Date Filed (f) or Converted (c):   03/31/09 (c)
                    HAROLDS DBO, INC.                                                                                               341(a) Meeting Date:               04/28/09
For Period Ending: 03/31/14                                                                                                         Claims Bar Date:                   05/07/14



                                       1                                            2                         3                          4                         5                                  6
                                                                                                     Estimated Net Value
                                                                                Petition/       (Value Determined by Trustee,     Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                                Unscheduled         Less Liens, Exemptions,           Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                       Values               and Other Costs)           OA=554(a) Abandon             the Estate

 1. Ch. 11 Carve Out Balance (u)                                                         0.00                         3,642.85                                         3,642.85                     FA
     Balance of unused $50,000 carve out for Ch. 11 Creditors Comm.
     Counsel
 2. CASH ON HAND                                                                   30,741.96                              0.00                                               0.00                   FA
 3. CHECKING/SAVINGS                                                                     0.00                             0.00                                               0.00                   FA
 4. SECURITY DEPOSITS                                                                3,554.00                             0.00                                               0.00                   FA
 5. VARIOUS CLOTHING SAMPLES AT DALLAS BUYING OFFICE                                Unknown                               0.00                                               0.00                   FA
 6. TRADE RECEIVABLES                                                            4,343,271.13                             0.00                                         8,403.06                     FA
 7. TAX REFUND AND CREDITS (u)                                                     27,252.46                              0.00                                           795.78                     FA
 8. INTELLECTUAL PROPERTY                                                           Unknown                               0.00                                               0.00                   FA
 9. CUSTOMER LIST                                                                   Unknown                               0.00                                               0.00                   FA
 10. OFFICE EQUIPMENT                                                            1,040,552.86                             0.00                                               0.00                   FA
 11. FIXTURES & EQUIPMENT                                                        1,613,727.11                             0.00                                               0.00                   FA
 12. INVENTORY                                                                  17,096,516.50                             0.00                                               0.00                   FA
 13. LEASEHOLD IMPROVEMENTS                                                      6,139,211.64                             0.00                                               0.00                   FA
 14. Post-Petition Interest Deposits (u)                                            Unknown                               0.00                                               7.95                   FA
 15. OTHER PERSONAL PROPERTY                                                             0.00                         2,141.33                                         2,141.33                     FA
 16. Chapter 13 Payments (u)                                                             0.00                         3,000.00                                         2,433.15                           566.85
 17. LITIGATION (u)                                                                      0.00                 10,000,000.00                                        2,000,000.00                             0.00
     Adversary proceeding against former officer and directors of debtor
     pending. There is a $10 Milliion dollar D&O Policy.
 18. Refund from ONG (u)                                                                 0.00                           32.98                                               32.98                   FA
 19. Settlement Proceed (u)                                                              0.00                     1,750,000.00                                     1,750,000.00                             0.00
 20. Settlement Proceed (u)                                                              0.00                      250,000.00                                                0.00                     250,000.00

                                                                                                                                                                                      Gross Value of Remaining Assets




LFORM1                                                                                                                                                                                                             Ver: 17.05d
                                                                Case: 08-15027                  Doc: 505             Filed: 04/30/14             Page: 2 of 16
                                                                                                  FORM 1
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:       2
                                                                                               ASSET CASES
Case No:               08-15027      WV     Judge: T.M. WEAVER                                                                                  Trustee Name:                     DOUGLAS N. GOULD
Case Name:             HAROLDS STORES, INC.                                                                                                    Date Filed (f) or Converted (c):   03/31/09 (c)
                       HAROLDS DBO, INC.                                                                                                       341(a) Meeting Date:               04/28/09
                                                                                                                                               Claims Bar Date:                   05/07/14



                                        1                                                   2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                                 Asset Description                                   Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                     (Scheduled and Unscheduled (u) Property)                          Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 TOTALS (Excluding Unknown Values)                                                   $30,294,827.66                     $12,008,817.16                                       $3,767,457.10                      $250,566.85
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   TRUSTEE INVESTIGATING POSSIBLE ASSET IN A DIRECTORS AND OFFICERS LIABILITY POLICY.
   07-07-09 TRUSTEE FILES APPLICATION TO EMPLOY BRACEWELL & GUILIANI AS SPECIAL COUNSEL AND DOUGLAS GOULD AS ATTORNEY FOR
   TRUSTEE.
   07-13-09   ORDER AUTHORIZING EMPLOYMENT OF BRACEWELL AND GOULD.
   08-03-09   ADVERSARY CASE FILED AGAINST DIRECTORS AND OFFICERS.
   04-07-10   HEARING SCHEDULED FOR 05-12-10 IN PENDING ADVERSARY CASE.
   5-16-12-Settlement conference concluded without settlement. Litigation against former officers and directors of Debtor
   pending.
   4-20-13- Trustee checks back with Bracewell & Gulianni and there is no trial date set in this case. Waiting for Court
   to set trial date check back 10-20-13.
   2-24-14 Mediation resulted in $2,000,000.00 settlement. Motion to Approve Settlement Agreement entered. Claims bar
   date requested.
   3-24-14 Order granting motion to approve settlement entered. Claims bar date 5-7-14.
   3-31-14 $175 M settlement proceeds received.
   4-10-14 Balance of settlement proceeds received.


   Initial Projected Date of Final Report (TFR): 11/07/10           Current Projected Date of Final Report (TFR): 04/30/14




LFORM1                                                                                                                                                                                                                        Ver: 17.05d
                                                         Case: 08-15027        Doc: 505            Filed: 04/30/14       Page: 3 of 16
                                                                                             FORM 2                                                                                   Page:     1
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-15027 -WV                                                                                      Trustee Name:                    DOUGLAS N. GOULD
  Case Name:         HAROLDS STORES, INC.                                                                              Bank Name:                       FIRST NATIONAL BANK OF VINITA
                     HAROLDS DBO, INC.                                                                                 Account Number / CD #:           *******1011 GENERAL CHECKING
  Taxpayer ID No:    *******8796
  For Period Ending: 03/31/14                                                                                          Blanket Bond (per case limit):   $ 7,385,000.00
                                                                                                                       Separate Bond (if applicable):


           1             2                           3                                                4                                            5                     6                7
     Transaction     Check or                                                                                                 Uniform                                                 Account / CD
        Date         Reference             Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)      Disbursements ($)      Balance ($)
                                                                              BALANCE FORWARD                                                                                                       0.00
          08/01/12               Trsf In From BANK OF AMERICA                 INITIAL WIRE TRANSFER IN                       9999-000               16,984.40                                 16,984.40
          08/03/12      16       THOMAS CH 13 TRUSTEE POWERS                  Chapter 13 payment                             1121-000                   28.33                                 17,012.73
          09/05/12      16       THOMAS CH 13 TRUSTEE POWERS                  Chapter 13 payment                             1221-000                   28.32                                 17,041.05
          09/24/12               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                        10.83            17,030.22
          10/04/12      16       THOMAS CH 13 TRUSTEE POWERS                  Chapter 13 payment                             1221-000                   28.32                                 17,058.54
          10/16/12               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                        10.50            17,048.04
          11/02/12      16       THOMAS CH 13 TRUSTEE POWERS                  Chapter 13 payment                             1221-000                   28.32                                 17,076.36
          11/06/12               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                        10.86            17,065.50
          12/06/12      16       THOMAS CH 13 TRUSTEE POWERS                  Chapter 13 payment                             1221-000                   28.32                                 17,093.82
          12/07/12               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                        10.52            17,083.30
          01/07/13      16       THOMAS CH 13 TRUSTEE POWERS                  Chapter 13 payment                             1221-000                   28.32                                 17,111.62
          01/08/13               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                        10.88            17,100.74
          01/31/13      16       THOMAS CH 13 TRUSTEE POWERS                  Chapter 13 payment                             1221-000                   28.33                                 17,129.07
          02/07/13               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                        18.15            17,110.92
          03/04/13      16       THOMAS CH 13 TRUSTEE POWERS                  Chapter 13 payment                             1221-000                   28.32                                 17,139.24
          03/07/13               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                        16.41            17,122.83
          04/03/13      16       THOMAS CH 13 TRUSTEE POWERS                                                                 1221-000                   28.32                                 17,151.15
          04/05/13               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                        18.18            17,132.97
          05/06/13      16       THOMAS CH 13 TRUSTEE POWERS                  Chapter 13 payment                             1221-000                   28.33                                 17,161.30
          05/07/13               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                        17.60            17,143.70
          06/05/13      16       THOMAS CH 13 TRUSTEE POWERS                                                                 1221-000                   28.32                                 17,172.02
 *        06/05/13    010000     INTERNATIONAL SURETIES INC.                  Blanket Bond #016018042 Premium                2300-000                                        33.51            17,138.51
                                 203 CARONDELET STREET
                                 NEW ORLEANS, LA 70130
 *        06/05/13    010000     INTERNATIONAL SURETIES INC.                  Blanket Bond #016018042 Premium                2300-000                                        -33.51           17,172.02
                                 203 CARONDELET STREET
                                 NEW ORLEANS, LA 70130
          06/05/13    010001     INTERNATIONAL SURETIES INC.                  Blanket Bond #016018042 Premium                2300-000                                        33.54            17,138.48

                                                                                                                       Page Subtotals               17,295.95                157.47
                                                                                                                                                                                              Ver: 17.05d
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                                                         Case: 08-15027        Doc: 505            Filed: 04/30/14       Page: 4 of 16
                                                                                             FORM 2                                                                                        Page:     2
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-15027 -WV                                                                                      Trustee Name:                    DOUGLAS N. GOULD
  Case Name:         HAROLDS STORES, INC.                                                                              Bank Name:                       FIRST NATIONAL BANK OF VINITA
                     HAROLDS DBO, INC.                                                                                 Account Number / CD #:           *******1011 GENERAL CHECKING
  Taxpayer ID No:    *******8796
  For Period Ending: 03/31/14                                                                                          Blanket Bond (per case limit):   $ 7,385,000.00
                                                                                                                       Separate Bond (if applicable):


           1             2                           3                                                4                                            5                       6                   7
    Transaction      Check or                                                                                                 Uniform                                                      Account / CD
       Date          Reference             Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 203 CARONDELET STREET
                                 NEW ORLEANS, LA 70130
          06/07/13               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                            18.20             17,120.28
          07/08/13               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                            17.61             17,102.67
          07/09/13      16       THOMAS CH 13 TRUSTEE POWERS                  Chapter 13 payment                             1221-000                   28.32                                      17,130.99
          08/02/13      16       THOMAS CH 13 TRUSTEE POWERS                  Chapter 13 payment                             1221-000                   28.32                                      17,159.31
          08/07/13               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                            18.18             17,141.13
          08/21/13    010002     Dennis Maley, CPA, LLC                       ACCOUNTANT FEES                                3410-000                                          3,373.34            13,767.79
                                 704 NW 20th
                                 Oklahoma City, OK 73013
          08/29/13      16       THOMAS CH 13 TRUSTEE POWERS                  Chapter 13 payment                             1221-000                   28.32                                      13,796.11
          09/09/13               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                            17.16             13,778.95
          10/07/13               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                            14.16             13,764.79
          10/14/13      16       THOMAS CH 13 TRUSTEE POWERS                                                                 1221-000                        7.54                                  13,772.33
          11/07/13               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                            14.62             13,757.71
          12/06/13               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                            14.14             13,743.57
          01/08/14               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                            14.59             13,728.98
          02/07/14               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                            14.58             13,714.40
          03/05/14    010003     Dennis Maley, CPA, LLC                       ACCOUNTANT FEES                                3410-000                                           520.00             13,194.40
                                 704 NW 20th
                                 Oklahoma City, OK 73013
          03/07/14               FIRST NATIONAL BANK OF VINITA                BANK SERVICE FEE                               2600-000                                            13.15             13,181.25




                                                                                                                       Page Subtotals                   92.50                   4,049.73
                                                                                                                                                                                                   Ver: 17.05d
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                                                      Case: 08-15027        Doc: 505      Filed: 04/30/14            Page: 5 of 16
                                                                                       FORM 2                                                                                         Page:    3
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-15027 -WV                                                                                  Trustee Name:                     DOUGLAS N. GOULD
  Case Name:         HAROLDS STORES, INC.                                                                          Bank Name:                        FIRST NATIONAL BANK OF VINITA
                     HAROLDS DBO, INC.                                                                             Account Number / CD #:            *******1011 GENERAL CHECKING
  Taxpayer ID No:    *******8796
  For Period Ending: 03/31/14                                                                                      Blanket Bond (per case limit):    $ 7,385,000.00
                                                                                                                   Separate Bond (if applicable):


          1           2                           3                                            4                                               5                       6                  7
    Transaction   Check or                                                                                                Uniform                                                     Account / CD
       Date       Reference             Paid To / Received From                    Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)

                                                                                               COLUMN TOTALS                                    17,388.45                  4,207.20           13,181.25
                                                                                                   Less: Bank Transfers/CD's                    16,984.40                      0.00
                                                                                               Subtotal                                             404.05                 4,207.20
                                                                                                   Less: Payments to Debtors                                                   0.00
                                                                                               Net
                                                                                                                                                    404.05                 4,207.20




                                                                                                                   Page Subtotals                        0.00                  0.00
                                                                                                                                                                                              Ver: 17.05d
LFORM24
                                                            Case: 08-15027       Doc: 505              Filed: 04/30/14            Page: 6 of 16
                                                                                                   FORM 2                                                                                      Page:    4
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-15027 -WV                                                                                               Trustee Name:                    DOUGLAS N. GOULD
  Case Name:         HAROLDS STORES, INC.                                                                                       Bank Name:                       FIRST NATIONAL BANK OF VINITA
                     HAROLDS DBO, INC.                                                                                          Account Number / CD #:           *******2287 SETTLEMENT PROCEEDS
  Taxpayer ID No:    *******8796
  For Period Ending: 03/31/14                                                                                                   Blanket Bond (per case limit):   $ 7,385,000.00
                                                                                                                                Separate Bond (if applicable):


           1             2                              3                                                   4                                               5                     6                7
    Transaction      Check or                                                                                                          Uniform                                                 Account / CD
       Date          Reference               Paid To / Received From                            Description Of Transaction            Tran. Code       Deposits ($)      Disbursements ($)      Balance ($)
                                                                                BALANCE FORWARD                                                                                                             0.00
          03/31/14      19       American International Group                   Sale Proceeds                                         1249-000            1,750,000.00                            1,750,000.00
                                 PO Box 9918
                                 Amarillo, TX 79105-5918

                                                                                                            COLUMN TOTALS                                 1,750,000.00                 0.00        1,750,000.00
                                                                                                                Less: Bank Transfers/CD's                         0.00                 0.00
                                                                                                            Subtotal                                      1,750,000.00                 0.00
                                                                                                                Less: Payments to Debtors                                              0.00
                                                                                                            Net
                                                                                                                                                          1,750,000.00                 0.00




                                                                                                                                Page Subtotals            1,750,000.00                  0.00
                                                                                                                                                                                                       Ver: 17.05d
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                                                             Case: 08-15027      Doc: 505             Filed: 04/30/14       Page: 7 of 16
                                                                                                FORM 2                                                                                       Page:     5
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-15027 -WV                                                                                         Trustee Name:                      DOUGLAS N. GOULD
  Case Name:         HAROLDS STORES, INC.                                                                                 Bank Name:                         BANK OF AMERICA
                     HAROLDS DBO, INC.                                                                                    Account Number / CD #:             *******1198 MONEY MARKET
  Taxpayer ID No:    *******8796
  For Period Ending: 03/31/14                                                                                             Blanket Bond (per case limit):     $ 7,385,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                               3                                                 4                                          5                       6                  7
     Transaction     Check or                                                                                                    Uniform                                                     Account / CD
        Date         Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                                                                BALANCE FORWARD                                                                                                            0.00
          06/30/09      1        Crowe & Dunlevy                                Ch. 11 Carve Out Balance                        1290-000                   3,642.85                                   3,642.85
                                 20 N. Broadway Suite 1800
          07/31/09      14       BANK OF AMERICA                                Interest Rate 0.030                             1270-000                        0.09                                  3,642.94
          08/31/09      14       BANK OF AMERICA                                Interest Rate 0.030                             1270-000                        0.09                                  3,643.03
          09/30/09      14       BANK OF AMERICA                                Interest Rate 0.030                             1270-000                        0.09                                  3,643.12
          10/30/09      14       BANK OF AMERICA                                Interest Rate 0.030                             1270-000                        0.09                                  3,643.21
          11/10/09      15       Bluebonnet                                     ACCOUNTS RECEIVABLE                             1129-000                    110.95                                    3,754.16
                                 PO Box 729
                                 Bastrop, TX 78602
 *        11/10/09      16       Chapter 13 Trustee                             ACCOUNTS RECEIVABLE                             1221-000                     54.99                                    3,809.15
                                 Beverly M. Burden
                                 PO Box 1907
                                 Lexington, KY 40588-1907
          11/10/09      16       Chapter 13 Trustee                             ACCOUNTS RECEIVABLE                             1221-000                     54.71                                    3,863.86
                                 Beverly M. Burden
                                 PO Box 1907
                                 Lexington, KY 40588-1907
          11/10/09      16       Thomas D. Powers                               ACCOUNTS RECEIVABLE                             1221-000                    237.64                                    4,101.50
                                 Chapter 13 Trustee
                                 PO Box 433
                                 Memphis, TN 38101-0433
          11/10/09      6        Wells Fargo & Company                          Trade Receivables                               1129-000                    955.83                                    5,057.33
                                 420 Montgomery Street
                                 San Francisco, CA 94163
          11/10/09      6        Wells Fargo & Company                          Trade Receivables                               1129-000                   6,947.23                                  12,004.56
                                 420 Montgomery Street
                                 San Francisco, CA 94163
          11/10/09      6        Wells Fargo & Company                          Trade Receivables                               1129-000                    500.00                                   12,504.56


                                                                                                                          Page Subtotals               12,504.56                      0.00
                                                                                                                                                                                                     Ver: 17.05d
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                                                           Case: 08-15027        Doc: 505              Filed: 04/30/14         Page: 8 of 16
                                                                                                   FORM 2                                                                                       Page:     6
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-15027 -WV                                                                                            Trustee Name:                    DOUGLAS N. GOULD
  Case Name:         HAROLDS STORES, INC.                                                                                    Bank Name:                       BANK OF AMERICA
                     HAROLDS DBO, INC.                                                                                       Account Number / CD #:           *******1198 MONEY MARKET
  Taxpayer ID No:    *******8796
  For Period Ending: 03/31/14                                                                                                Blanket Bond (per case limit):   $ 7,385,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                             3                                                    4                                            5                       6                  7
     Transaction     Check or                                                                                                       Uniform                                                     Account / CD
        Date         Reference               Paid To / Received From                            Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                 420 Montgomery Street
                                 San Francisco, CA 94163
          11/10/09      15       American Express                               ACCOUNTS RECEIVABLE                                1129-000                        8.00                                 12,512.56
                                 Travel Related Services Company
                                 20002 North 19th Ave.
                                 Phoenix, AZ 85027
          11/10/09      15       American Express                               ACCOUNTS RECEIVABLE                                1129-000                   281.35                                    12,793.91
                                 Travel Related Sevices Company
                                 20002 North 19th Ave.
                                 Phoenix, AZ 85027
 *        11/23/09      16       Chapter 13 Trustee                             ACCOUNTS RECEIVABLE                                1221-000                   -54.99                                    12,738.92
                                 Beverly M. Burden                              Stop payment issued 11/10/09
                                 PO Box 1907
                                 Lexington, KY 40588-1907
          11/30/09      14       BANK OF AMERICA                                Interest Rate 0.030                                1270-000                        0.21                                 12,739.13
          12/04/09      16       Thomas D. Powers                               ACCOUNTS RECEIVABLE                                1221-000                    28.00                                    12,767.13
                                 PO Box 433
                                 Memphis, TN 38101-0433
          12/08/09      16       Chapter 13 Trustee                             ACCOUNTS RECEIVABLE                                1221-000                    18.52                                    12,785.65
                                 Beverly M. Burden
                                 Po Box 1907
                                 Lexington, KY 40588
          12/22/09      7        AT&T                                           refund credit                                      1221-000                    98.62                                    12,884.27
                                 PO Box 771039
                                 St. Louis, MO 63178
          12/31/09      14       BANK OF AMERICA                                Interest Rate 0.030                                1270-000                        0.33                                 12,884.60
          01/08/10      16       Beverly M. Burden                              ACCOUNTS RECEIVABLE                                1221-000                        3.57                                 12,888.17
                                 PO Box 1907
                                 Lexington, KY 40588-1907
          01/11/10      16       Beth S. Lewis                                  ACCOUNTS RECEIVABLE                                1221-000                    23.90                                    12,912.07

                                                                                                                             Page Subtotals                   407.51                     0.00
                                                                                                                                                                                                        Ver: 17.05d
LFORM24
                                                               Case: 08-15027     Doc: 505              Filed: 04/30/14         Page: 9 of 16
                                                                                                    FORM 2                                                                                       Page:     7
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-15027 -WV                                                                                             Trustee Name:                      DOUGLAS N. GOULD
  Case Name:         HAROLDS STORES, INC.                                                                                     Bank Name:                         BANK OF AMERICA
                     HAROLDS DBO, INC.                                                                                        Account Number / CD #:             *******1198 MONEY MARKET
  Taxpayer ID No:    *******8796
  For Period Ending: 03/31/14                                                                                                 Blanket Bond (per case limit):     $ 7,385,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                                 3                                                 4                                            5                       6                  7
    Transaction      Check or                                                                                                        Uniform                                                     Account / CD
       Date          Reference                Paid To / Received From                            Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                 535 Spaulding Farm Road
                                 Greenville, SC 29615
          01/29/10      14       BANK OF AMERICA                                 Interest Rate 0.030                                1270-000                        0.33                                 12,912.40
          02/04/10      15       MetLife                                         ACCOUNTS RECEIVABLE                                1129-000                     27.38                                   12,939.78
          02/08/10      16       Thomas D. Powers                                ACCOUNTS RECEIVABLE                                1221-000                     56.05                                   12,995.83
                                 Chapter 13 Trustee
                                 PO Box 433
                                 Memphis, TN 38101-0433
          02/22/10      15       Beth S. Lewis                                   ACCOUNTS RECEIVABLE                                1129-000                     40.00                                   13,035.83
                                 535 Spaulding Fsrm Road
                                 Greenville, SC 29615
          02/26/10      14       BANK OF AMERICA                                 Interest Rate 0.030                                1270-000                        0.30                                 13,036.13
          03/01/10      16       Alice Whitten                                   ACCOUNTS RECEIVABLE                                1221-000                     21.92                                   13,058.05
                                 Chapter 13 Trustee
                                 PO Box 1201
                                 Memphis, TN 38101-4710
          03/03/10      15       Republic Services, Inc.                         refund credit                                      1129-000                    127.96                                   13,186.01
                                 18500 N. Allied Way
                                 Phoenix, AZ 85054
          03/09/10      16       Thomas D. Powers                                ACCOUNTS RECEIVABLE                                1221-000                     27.89                                   13,213.90
                                 Chapter 13 Trustee
                                 PO Box 433
                                 Memphis, TN 38101
          03/23/10      15       Beth S. Lewis                                   ACCOUNTS RECEIVABLE                                1129-000                     20.00                                   13,233.90
                                 535 Spaulding Farm Road
                                 Greenville, SC 29615
          03/29/10      15       Merrill Lynch                                   refund credit                                      1129-000                    937.27                                   14,171.17
          03/31/10      14       BANK OF AMERICA                                 Interest Rate 0.030                                1270-000                        0.34                                 14,171.51
          04/02/10      16       Alice Whitten                                   ACCOUNTS RECEIVABLE                                1221-000                     35.73                                   14,207.24


                                                                                                                              Page Subtotals                   1,295.17                   0.00
                                                                                                                                                                                                         Ver: 17.05d
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                                                                                                    FORM 2                                                                                      Page:     8
                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-15027 -WV                                                                                             Trustee Name:                    DOUGLAS N. GOULD
  Case Name:         HAROLDS STORES, INC.                                                                                     Bank Name:                       BANK OF AMERICA
                     HAROLDS DBO, INC.                                                                                        Account Number / CD #:           *******1198 MONEY MARKET
  Taxpayer ID No:    *******8796
  For Period Ending: 03/31/14                                                                                                 Blanket Bond (per case limit):   $ 7,385,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                                 3                                                 4                                            5                       6                 7
    Transaction      Check or                                                                                                        Uniform                                                    Account / CD
       Date          Reference                 Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)     Balance ($)
                                 Chapter 13 Trustee
                                 PO Box 1201
                                 Memphis, TN 38101-4710
          04/07/10      16       Thomas D. Powers                                   ACCOUNTS RECEIVABLE                             1221-000                    28.00                                   14,235.24
                                 PO Box 433
                                 Memphis, TN 38101-0433
          04/30/10      14       BANK OF AMERICA                                    Interest Rate 0.030                             1270-000                        0.35                                14,235.59
          05/25/10      16       Thomas D. Powers                                   ACCOUNTS RECEIVABLE                             1221-000                    28.12                                   14,263.71
                                 Chapter 13 Trustee for Lagregs, Kristin
                                 PO Boix 433
                                 Memphis, TN 38101-0433
          05/28/10      14       BANK OF AMERICA                                    Interest Rate 0.030                             1270-000                        0.36                                14,264.07
          06/08/10      16       Thomas D. Powers                                   ACCOUNTS RECEIVABLE                             1221-000                    27.90                                   14,291.97
                                 Chapter 13 Trustee                                 Applied from Debtor Lagres, Kristin
                                 PO Box 433
                                 Memphis, TN 38101
          06/16/10      16       Alice Whitten                                      ACCOUNTS RECEIVABLE                              1221-000                   52.85                                   14,344.82
                                                                                    Debtor Kimberly Dawn Hailey Acct. No. 3053817191
          06/16/10      15       Bluebonnet                                         ACCOUNTS RECEIVABLE                             1129-000                    48.63                                   14,393.45
          06/17/10    000100     International Sureties, Ltd.                       Blanket Bond #016018042 Premium                 2300-000                                           11.32            14,382.13
                                 Suite 420
                                 701 Poydras St.
                                 New Orleans, LA 70139
          06/30/10      14       BANK OF AMERICA                                    Interest Rate 0.030                             1270-000                        0.36                                14,382.49
          07/30/10      14       BANK OF AMERICA                                    Interest Rate 0.030                             1270-000                        0.36                                14,382.85
          08/05/10      16       THOMAS CH 13 TRUSTEE POWERS                        Chapter 13 payment                              1221-000                    28.00                                   14,410.85
          08/23/10      16       THOMAS CH 13 TRUSTEE POWERS                        ACCOUNTS RECEIVABLE                             1221-000                    28.28                                   14,439.13
          08/23/10      16       Alice Whitten                                      ACCOUNTS RECEIVABLE                             1221-000                    31.94                                   14,471.07
                                 PO Box 2153


                                                                                                                              Page Subtotals                   275.15                   11.32
                                                                                                                                                                                                        Ver: 17.05d
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                                                                                                  FORM 2                                                                                        Page:     9
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-15027 -WV                                                                                            Trustee Name:                       DOUGLAS N. GOULD
  Case Name:         HAROLDS STORES, INC.                                                                                    Bank Name:                          BANK OF AMERICA
                     HAROLDS DBO, INC.                                                                                       Account Number / CD #:              *******1198 MONEY MARKET
  Taxpayer ID No:    *******8796
  For Period Ending: 03/31/14                                                                                                Blanket Bond (per case limit):      $ 7,385,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                               3                                                 4                                             5                        6                 7
     Transaction     Check or                                                                                                         Uniform                                                   Account / CD
        Date         Reference              Paid To / Received From                            Description Of Transaction            Tran. Code     Deposits ($)          Disbursements ($)      Balance ($)
                                 Memphis TN 38101
          08/23/10      15       Waste Management                              ACCOUNTS RECEIVABLE                                   1129-000                   539.79                                  15,010.86
                                 PO Box 3027
                                 Houston TX 77253-3027
          08/30/10      18       OKLAHOMA NATURAL GAS                          refund credit                                         1290-000                    16.49                                  15,027.35
                                 PO BOX 21019
                                 TULSA OK 74121
          08/31/10      14       BANK OF AMERICA                               Interest Rate 0.030                                   1270-000                      0.37                                 15,027.72
          09/08/10      16       THOMAS D POWERS                               Chapter 13 payment                                    1221-000                    28.18                                  15,055.90
                                 CHAPTER 13 TRUSTEE
 *        09/20/10      15       ComEd                                         refund credit                                         1290-000                 1,935.24                                  16,991.14
                                 PO Box 805379
                                 Chicago IL 60680-5379
          09/30/10      14       BANK OF AMERICA                               Interest Rate 0.030                                   1270-000                      0.37                                 16,991.51
 *        10/12/10      15       ComEd                                         refund credit                                         1290-000                 -1,935.24                                 15,056.27
                                 PO Box 805379                                 COMED placed a stop payment on the check
                                 Chicago IL 60680-5379
                                                                               11/09/10 Brandy from COMED called and stated that
                                                                               customer made a payment to the wrong account
                                                                               number and provided proof of the same therefore the
                                                                               payment was stopped to issue the credit into the
                                                                               correct account. 630-437-2221
          10/29/10      14       BANK OF AMERICA                               Interest Rate 0.030                                   1270-000                      0.38                                 15,056.65
          11/30/10      14       BANK OF AMERICA                               Interest Rate 0.030                                   1270-000                      0.38                                 15,057.03
          12/10/10      16       THOMAS CH 13 TRUSTEE POWERS                   Chapter 13 payment                                    1221-000                    28.18                                  15,085.21
          12/27/10      16       Thomas D. Powers                              ACCOUNTS RECEIVABLE                                   1221-000                    84.02                                  15,169.23
                                 Chapter 13 Trustee for
                                 Kristin Anne Lagregs
                                 PO Box 433
                                 Memphis TN 38101-0433

                                                                                                                             Page Subtotals                     698.16                   0.00
                                                                                                                                                                                                        Ver: 17.05d
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                                                                                                FORM 2                                                                                      Page:    10
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-15027 -WV                                                                                         Trustee Name:                    DOUGLAS N. GOULD
  Case Name:         HAROLDS STORES, INC.                                                                                 Bank Name:                       BANK OF AMERICA
                     HAROLDS DBO, INC.                                                                                    Account Number / CD #:           *******1198 MONEY MARKET
  Taxpayer ID No:    *******8796
  For Period Ending: 03/31/14                                                                                             Blanket Bond (per case limit):   $ 7,385,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                             3                                                 4                                            5                       6                 7
    Transaction      Check or                                                                                                    Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)     Balance ($)
          12/31/10      14       BANK OF AMERICA                                Interest Rate 0.030                             1270-000                        0.38                                15,169.61
          01/31/11      14       BANK OF AMERICA                                Interest Rate 0.030                             1270-000                        0.39                                15,170.00
          02/07/11      16       THOMAS CH 13 TRUSTEE POWERS                    ACCOUNTS RECEIVABLE                             1221-000                    28.03                                   15,198.03
          02/28/11      14       BANK OF AMERICA                                Interest Rate 0.010                             1270-000                        0.12                                15,198.15
          03/03/11      16       THOMAS CH 13 TRUSTEE POWERS                    ACCOUNTS RECEIVABLE                             1221-000                    42.10                                   15,240.25
          03/31/11      14       BANK OF AMERICA                                Interest Rate 0.010                             1270-000                        0.13                                15,240.38
          04/29/11      14       BANK OF AMERICA                                Interest Rate 0.010                             1270-000                        0.12                                15,240.50
          05/04/11      16       Kristin Anne Lagregs                           ACCOUNTS RECEIVABLE                             1221-000                    42.12                                   15,282.62
                                 (Thomas D. Powers Ch. 13 Trustee)
          05/31/11      14       BANK OF AMERICA                                Interest Rate 0.010                             1270-000                        0.13                                15,282.75
          06/03/11    000101     INTERNATIONAL SURETIES LTD.                    Blanket Bond #016018042 Premium                 2300-000                                           18.94            15,263.81
                                 701 Poydras St.
                                 Suite 420
                                 NEW ORLEANS, LA 70139
          06/06/11      16       Kristin Anne Lagregs                           ACCOUNTS RECEIVABLE                             1221-000                    28.56                                   15,292.37
                                 Case #3085368 Acct. 4920
                                 Cred 511538
                                 Thomas D. Powers Ch. 13 Trustee
          06/30/11      14       BANK OF AMERICA                                Interest Rate 0.010                             1270-000                        0.13                                15,292.50
          07/07/11      16       HAROLDS STORES, INC.                           ACCOUNTS RECEIVABLE                             1221-000                    28.55                                   15,321.05
                                 5919 MAPLE
                                 DALLAS, TX 75235
          07/29/11      14       BANK OF AMERICA                                Interest Rate 0.010                             1270-000                        0.12                                15,321.17
          08/02/11      16       Kristin Anne Lagregs                           Chapter 13 payment                              1221-000                    28.09                                   15,349.26
                                 c/o Thomas D. Powers
                                 Chapter 13 Trustee
                                 P. O. Box 433
                                 Memphis, TN 38101-0433
          08/02/11      16       Kimberly Rockhold                              Chapter 13 payment                              1221-000                   649.00                                   15,998.26


                                                                                                                          Page Subtotals                   847.97                   18.94
                                                                                                                                                                                                    Ver: 17.05d
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                                                          Case: 08-15027         Doc: 505              Filed: 04/30/14            Page: 13 of 16
                                                                                                 FORM 2                                                                                            Page:    11
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-15027 -WV                                                                                                Trustee Name:                     DOUGLAS N. GOULD
  Case Name:         HAROLDS STORES, INC.                                                                                        Bank Name:                        BANK OF AMERICA
                     HAROLDS DBO, INC.                                                                                           Account Number / CD #:            *******1198 MONEY MARKET
  Taxpayer ID No:    *******8796
  For Period Ending: 03/31/14                                                                                                    Blanket Bond (per case limit):    $ 7,385,000.00
                                                                                                                                 Separate Bond (if applicable):


           1             2                               3                                                 4                                                 5                       6                 7
     Transaction     Check or                                                                                                            Uniform                                                   Account / CD
        Date         Reference                Paid To / Received From                         Description Of Transaction                Tran. Code      Deposits ($)          Disbursements ($)     Balance ($)
                                 c/o Craig Watkins
                                 Criminal District Attorney
                                 Dallas County, TX
          08/31/11      14       BANK OF AMERICA                                 Interest Rate 0.010                                    1270-000                       0.14                                15,998.40
 *        09/02/11               Thomas D. Powers                                ACCOUNTS RECEIVABLE                                    1221-000                  685.20                                   16,683.60
                                 Chapter 12 Trustee
                                 Kreistin Ann Lagregs
                                 P. O. Box 433
                                 Memphis, TN 38101-0433
 *        09/13/11               Thomas D. Powers                                ACCOUNTS RECEIVABLE                                    1221-000                  -685.20                                  15,998.40
                                 Chapter 12 Trustee                              Deposit was supposed to be 28.10
                                 Kreistin Ann Lagregs
                                 P. O. Box 433
                                 Memphis, TN 38101-0433
          09/13/11      16       Thomas Powers                                   Chapter 13 payment                                     1221-000                   28.10                                   16,026.50
                                                                                 Orginally made this deposit as 685.20 when it should
                                                                                 have been 28.10 (Ndc)
          09/30/11      16       Thomas D. Powers                                Chapter 13 payment                                     1221-000                   28.09                                   16,054.59
                                 Chapter 13 Trustee
                                 for Kristin Anne Lagregs
                                 P. O. Box 433
                                 Memphis, TN 38101-0433
          09/30/11      14       BANK OF AMERICA                                 Interest Rate 0.010                                    1270-000                       0.13                                16,054.72
          10/31/11      14       BANK OF AMERICA                                 Interest Rate 0.010                                    1270-000                       0.14                                16,054.86
          10/31/11               BANK OF AMERICA                                 BANK SERVICE FEE                                       2600-000                                          20.45            16,034.41
          11/07/11      16       Thomas D. Powers                                ACCOUNTS RECEIVABLE                                    1221-000                   28.09                                   16,062.50
                                 Chapter 13 Trustee
                                 Kristin Anne Lagregs
                                 P. O. Box 433
                                 Memphis, TN 38101-0433

                                                                                                                                 Page Subtotals                    84.69                   20.45
                                                                                                                                                                                                           Ver: 17.05d
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                                                       Case: 08-15027          Doc: 505              Filed: 04/30/14      Page: 14 of 16
                                                                                               FORM 2                                                                                      Page:    12
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-15027 -WV                                                                                        Trustee Name:                    DOUGLAS N. GOULD
  Case Name:         HAROLDS STORES, INC.                                                                                Bank Name:                       BANK OF AMERICA
                     HAROLDS DBO, INC.                                                                                   Account Number / CD #:           *******1198 MONEY MARKET
  Taxpayer ID No:    *******8796
  For Period Ending: 03/31/14                                                                                            Blanket Bond (per case limit):   $ 7,385,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                            3                                                 4                                            5                       6                 7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference              Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)     Balance ($)
          11/30/11      16       Thomas D. Powers                              Chapter 13 payment                              1221-000                    28.09                                   16,090.59
                                 Chapter 13 Trustee
                                 (Kristing Anne Lagregs)
                                 P. O. Box 433
                                 Memphis, TN 38101-0433
          11/30/11      14       BANK OF AMERICA                               Interest Rate 0.010                             1270-000                        0.13                                16,090.72
          11/30/11               BANK OF AMERICA                               BANK SERVICE FEE                                2600-000                                           19.79            16,070.93
          12/27/11      16       Thomas D. Powers                              ACCOUNTS RECEIVABLE                             1221-000                    28.10                                   16,099.03
                                 Chapter 13 Trustee
                                 Kristin Anne Lagregs
                                 P. O. Box 433
                                 Memphis, TN 38101-0433
          12/30/11      14       BANK OF AMERICA                               Interest Rate 0.010                             1270-000                        0.13                                16,099.16
          12/30/11               BANK OF AMERICA                               BANK SERVICE FEE                                2600-000                                           19.81            16,079.35
          01/31/12      14       BANK OF AMERICA                               Interest Rate 0.010                             1270-000                        0.14                                16,079.49
          01/31/12               BANK OF AMERICA                               BANK SERVICE FEE                                2600-000                                           21.09            16,058.40
          02/03/12      16       Thomas D. Powers                              Chapter 13 payment                              1221-000                    28.09                                   16,086.49
                                 Chapter 13 Trustee
                                 P. O. Box 433
                                 Memphis, TN 38101-0433
                                 Kristin Anne Lagregs
          02/29/12      14       BANK OF AMERICA                               Interest Rate 0.010                             1270-000                        0.13                                16,086.62
          02/29/12               BANK OF AMERICA                               BANK SERVICE FEE                                2600-000                                           19.11            16,067.51
          03/02/12      16       Thomas D. Powers                              Chapter 13 payment                              1221-000                    28.09                                   16,095.60
                                 Chapter 13 Trustee
                                 P. O. Box 433
                                 Memphis, TN 38101-0433
          03/30/12      14       BANK OF AMERICA                               Interest Rate 0.010                             1270-000                        0.13                                16,095.73
          03/30/12               BANK OF AMERICA                               BANK SERVICE FEE                                2600-000                                           19.78            16,075.95


                                                                                                                         Page Subtotals                   113.03                   99.58
                                                                                                                                                                                                   Ver: 17.05d
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                                                                                                    FORM 2                                                                                        Page:    13
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-15027 -WV                                                                                             Trustee Name:                      DOUGLAS N. GOULD
  Case Name:         HAROLDS STORES, INC.                                                                                     Bank Name:                         BANK OF AMERICA
                     HAROLDS DBO, INC.                                                                                        Account Number / CD #:             *******1198 MONEY MARKET
  Taxpayer ID No:    *******8796
  For Period Ending: 03/31/14                                                                                                 Blanket Bond (per case limit):     $ 7,385,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                              3                                                    4                                            5                       6                   7
    Transaction      Check or                                                                                                        Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                             Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          04/02/12      16       Thomas D. Powers                                Chapter 13 payment                                 1221-000                     28.10                                    16,104.05
                                 Chapter 13 Trustee
                                 P. O. Box 433
                                 Memphis, TN 38101-0433
          04/30/12      14       BANK OF AMERICA                                 INTEREST REC'D FROM BANK                           1270-000                        0.14                                  16,104.19
          04/30/12               BANK OF AMERICA                                 BANK SERVICE FEE                                   2600-000                                            20.45             16,083.74
          05/09/12      16       Thomas D. Powers                                Chapter 13 payment                                 1221-000                     28.09                                    16,111.83
                                 Chapter 13 Trustee
                                 P. O. Box 433
                                 Memphis, TN 38101-0433
          05/09/12      7        CIT Group/Commercial Services, Inc.             refund credit                                      1221-000                    697.16                                    16,808.99
                                 134 Wooding Avenue
                                 Danville, VA 24541
          05/31/12      14       BANK OF AMERICA                                 Interest Rate 0.010                                1270-000                        0.14                                  16,809.13
          05/31/12               BANK OF AMERICA                                 BANK SERVICE FEE                                   2600-000                                            21.06             16,788.07
          06/06/12      16       THOMAS CH 13 TRUSTEE POWERS                     Chapter 13 payment                                 1221-000                     28.09                                    16,816.16
          06/18/12      17       CIT Group/Co0mmercial Services, Inc.            refund credit                                      1221-000                    221.93                                    17,038.09
                                 PO Box 617
                                 Danville, VA 24543
          06/29/12      14       BANK OF AMERICA                                 Interest Rate 0.010                                1270-000                        0.13                                  17,038.22
          06/29/12               BANK OF AMERICA                                 BANK SERVICE FEE                                   2600-000                                            20.06             17,018.16
          07/09/12      16       THOMAS CH 13 TRUSTEE POWERS                     Chapter 13 payment                                 1221-000                     28.32                                    17,046.48
          07/18/12    000102     INTERNATIONAL SURETIES LTD.                     Blanket Bond #016018042 Premium                    2300-000                                            39.91             17,006.57
                                 701 Poydras St.
                                 Suite 420
                                 NEW ORLEANS, LA 70139
          07/31/12      14       BANK OF AMERICA                                 Interest Rate 0.010                                1270-000                        0.15                                  17,006.72
          07/31/12               BANK OF AMERICA                                 BANK SERVICE FEE                                   2600-000                                            22.32             16,984.40
          08/01/12               Trsf To FIRST NATIONAL BANK OF VINI             FINAL TRANSFER                                     9999-000                                       16,984.40                    0.00


                                                                                                                              Page Subtotals                   1,032.25               17,108.20
                                                                                                                                                                                                          Ver: 17.05d
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                                                                                       FORM 2                                                                                                    Page:      14
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-15027 -WV                                                                                   Trustee Name:                       DOUGLAS N. GOULD
  Case Name:         HAROLDS STORES, INC.                                                                           Bank Name:                          BANK OF AMERICA
                     HAROLDS DBO, INC.                                                                              Account Number / CD #:              *******1198 MONEY MARKET
  Taxpayer ID No:    *******8796
  For Period Ending: 03/31/14                                                                                       Blanket Bond (per case limit):      $ 7,385,000.00
                                                                                                                    Separate Bond (if applicable):


          1           2                           3                                             4                                                 5                          6                         7
    Transaction   Check or                                                                                                 Uniform                                                               Account / CD
       Date       Reference             Paid To / Received From                     Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)

                                                                                                COLUMN TOTALS                                      17,258.49                  17,258.49                          0.00
                                                                                                    Less: Bank Transfers/CD's                           0.00                  16,984.40
                                                                                                Subtotal                                           17,258.49                      274.09
                                                                                                    Less: Payments to Debtors                                                       0.00
                                                                                                Net
                                                                                                                                                   17,258.49                      274.09
                                                                                                                                                                        NET                             ACCOUNT
                                                                                             TOTAL - ALL ACCOUNTS                         NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                         GENERAL CHECKING - ********1011                               404.05                    4,207.20                  13,181.25
                                                                              SETTLEMENT PROCEEDS ACCOUNT - ********2287                        1,750,000.00                           0.00            1,750,000.00
                                                                                            MONEY MARKET - ********1198                             17,258.49                      274.09                         0.00
                                                                                                                                        ------------------------    ------------------------   ------------------------
                                                                                                                                                1,767,662.54                     4,481.29              1,763,181.25
                                                                                                                                        ==============             ==============              ==============
                                                                                                                                         (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                    Transfers)               To Debtors)                    On Hand




                                                                                                                    Page Subtotals                        0.00                        0.00
                                                                                                                                                                                                           Ver: 17.05d
LFORM24
